Case 2:23-cv-01533-KK-SK    Document 75-1 Filed 05/01/24        Page 1 of 2 Page ID
                                   #:2362


 1

 2

 3

 4

 5

 6

 7

 8                         UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10
      DANIEL TORRES,                            Case No.: 2:23-cv-01533-KK-SK
11    EMSURGCARE, and
      EMERGENCY SURGICAL
12    ASSISTANT,                                [PROPOSED] ORDER GRANTING
                                                STIPULATION TO AMEND
13                      Plaintiffs,             BRIEFING SCHEDULE FOR
      v.                                        CROSS-MOTIONS FOR
14                                              JUDGMENT UNDER FED. R. CIV.
      UNITEDHEALTHCARE                          PRO. 52
15    INSURANCE CO., DOES 1-10,
      inclusive,
16
                    Defendants
17

18

19

20
21

22

23

24

25

26
27

28
                                              -1-
                     [Proposed] Order On Stipulation Amend Briefing Schedule
Case 2:23-cv-01533-KK-SK     Document 75-1 Filed 05/01/24         Page 2 of 2 Page ID
                                    #:2363


 1

 2

 3                                  [PROPOSED] ORDER
 4         Having considered the Parties Stipulation to amend the briefing schedule on
 5   the Parties Rule 52 briefs,
 6         It is HEREBY ORDERED as follows:
 7         1.     The Parties’ response briefs will be due on May 10, 2024.
 8

 9         IT IS SO ORDERED.
10   DATED:                            ____________________________________
11                                     HON. JUDGE Kenly Kiya Kato
12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                -2-
                       [Proposed] Order On Stipulation Amend Briefing Schedule
